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               IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   4:02CR3049
                              )
          v.                  )
                              )
DAVID W. LOTT,                )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 114).        The Court notes defendant wishes

to enter a plea.        Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Wednesday, May 10, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.      The ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.         The additional time between

April 24, 2006, and May 10, 2006, shall be deemed excludable

time in any computation of time under the requirement of the

Speedy Trial Act.       18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 18th day of April, 2006.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
